Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 1 of 46 PagelD: 6

Case No. Brodsky/Martin v. BMW Page 1 of 46

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY NEWARK DIVISION

 

 

 

 

 

THE MATTER OF:
DONNA E. MARTIN  - Plaintiffs Case no.
JAY BRODSKY
-against-

BMW MANHATTAN - Defendants
BMW of NORTH AMERICA
BMW GROUP FINANCIAL SERVICES
BMW GROUPINC.
JOHN AND JANE DOE

COMPLAINT ADDENDUM

 

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 2 of 46 PagelD: 7

Case No. Brodsky/Martin v. BMW Page 2 of 46

 

Issues before the Court, Amongst Others:
15 U.S.C.A. § 2310
ISUS.C.A. § 2301

Federal Magnuson-Moss Warranty Act.15 U.S.C.A. § 2308 (West)

N.Y. Gen. Bus. Law § 349 (McKinney)

N.Y. U.C.C. Law § 2-314 (McKinney)

N.Y. U.C.C. Law § 2-313 (McKinney)

15 U.S.C.A. § 2304 (West)

NJ Rev Stat § 12A:2-314 (2013)
NJ Rev Stat § 12A:2A-212 (2013)
NJ.S.A. 12A:2-316
NJ.S.A. 12A:2-317
New Jersey Law 12A:2-608

 

AFFIRMATION:

1. On this 31st day of August, 2018, Pursuant to Federal Rules of Civil Procedure
Rule 8, the Petitioners, Donna Martin aka known as, Ms. Martin and Jay Brodsky
aka Mr. Brodsky, reside at, 240 East Shore Road, Apartment 444, Great Neck, New
York 11023 and duly depose that the facts as stated herein are true to the best of
their knowledge.

VENUE AND JURISTICTION:
2. Under the Federal Rules of Civil Procedure Rule 8 (Fed. R. Civ. P. 80), Donna
Martin/Jay Brodsky file a complaint for damages against BMW Group Financial

Services 5550 Britton Parkway Hilliard, Ohio 43026, BMW of Manhattan, 555 W

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 3 of 46 PagelD: 8

Case No. Brodsky/Martin v. BMW Page 3 of 46

57th St, New York, NY 10019, BMW of North America, 300 Chestnut Ridge Rd,
Woodcliff Lake, NJ 07677 and The BMW (Bavarian Motor Works) (BMW-GER)
Group Inc,, Petuelring 130, Munchen, D-80788, Germany at the United States
District Court for the District of New Jersey, Newark Division for reasons stated
forthwith.

3. The United States District Court for the District of New Jersey, Newark Division
has jurisdiction over the parties under 28 U.S.C.A. § 1332 because amongst other
things; BMW Group Financial Services, BMW North America and BMW of
Manhattan conduct a major part of their national operations in New Jersey and
conducts business activities from their headquarters in Hilliard, Ohio, New York
State and New Jersey respectively, with an advertising budget not exceeded in
other jurisdictions throughout the United States. The BMW Group Inc. is governed
by the laws of Germany and is headquartered in Munich, Germany. The Plaintiffs
reside in New York State, County of Nassau and at time of sale resided in the, State
of New Jersey, County of Essex.

5. Because there are issues pursuant to, Federal Magnuson-Moss Warranty Act.15
US.C.A. § 2308, and other Federal issues covered under the jurisdictional purview

of a Federal Court and actionable under the laws of the United States; the Plaintiffs

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 4 of 46 PagelD: 9

Case No. Brodsky/Martin v. BMW Page 4 of 46

have a right to pursue damages to recover equitable relief, costs of suit, treble

damages and punitive damages as the court see’s fit.

6. At least one of the Defendants, BMW North America, 300 Chestnut Ridge Rd,

Woodcliff Lake, NJ 07677, is licensed to do business in the State of New Jersey as

memorialized pursuant to 15 USC § 15 and 22, and 28; USC § 1391(b) and (c).
THE PARTIES

Pursuant to Rule 7(a) of the Federal Rules of Civil Procedure the parties are as

Follows:

Plaintiffs:

7. Donna Martin, 240 East Shore Road, Apt 444, Great Neck, New York 11023.

8. Jay Brodsky, 240 East Shore Road, Apt 444, Great Neck, New York 11023.

Defendants:

9. BMW Group Financial Services 5550 Britton Parkway Hilliard, Ohio 43026

10. BMW of Manhattan, 555 W 57th St, New York, NY 10019.

11. BMW of North America, 300 Chestnut Ridge Rd, Woodcliff Lake, NJ 07677.

12. The BMW (Bavarian Motor Works) (BMW_GER) Group Inc., Petuelring 130,

Munchen, D-80788, Germany.

BACKGROUND ALLEGATIONS
13. The BMW Group Inc., aka, “Bavarian Motor Works,” is an automobile

manufacturer that today has 30 production and assembly facilities in 14 countries

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 5 of 46 PagelD: 10

Case No. Brodsky/Martin v. BMW Page 5 of 46

as well as a global sales network, is the world’s leading manufacturer of premium
automobiles and motorcycles, and provider of premium financial and mobility
services.

14. BMW Group North America, was established in 1975 as the United States
importer of BMW luxury/performance vehicles. BMW of North America assumed
import and distribution responsibilities for BMW motorcycles in 1980. BMW of
North America also began to distribute light trucks in 1999. BMW of North
America's Corporate Headquarters is located in Woodcliff Lake, New Jersey. Its
Eastern Regional Headquarters and Technical Training Center is located in
Woodcliff Lake, New Jersey. A Vehicle Preparation Center is in Port Jersey, NJ and
a Regional Distribution Center is in Nazareth, PA.

15. BMW Group Financial Services, (Bank) is a finance service and a company of
the BMW Group. The company known under BMW Group Financial Services was
founded in 1971 in Munich. In 1973 the BMW Leasing GmbH was added — also
situated Munich. The fabricated products are BMW, MINI and Rolls-Royce Motor
Cars. Worldwide BMW Group Financial Services are represented in 53 countries
with 26 companies and 27 corporations.

16. BMW of Manhattan, is an automobile dealership that sells, services and leases
nationwide, BMW automobiles to the public.

17. The Plaintiffs, particularly Donna Martin leased a 2012 BMW 6 series from
BMW of Manhattan on the 22nd day of October, 2011 which was delivered on the
6th day of December, 2012. The vehicle was then leased for a second time to Ms.

Martin upon satisfying the first lease on the 25th day of January, 2014 until it was

terminated by repossession in January, 2016.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 6 of 46 PagelD: 11

Case No. Brodsky/Martin v. BMW Page 6 of 46

18. The BMW leased by the Plaintiffs was equipped with a N63 power-plant
engine which is a twin-turbocharged, 4.4-liter V-8 with 402 horsepower that saw
use in every 5 Series, 6 Series, 7 Series, X5, and X6 model that included "50i"
designated name and was manufactured between 2008 and 2013. The N63 is the
world's first production car engine to use a "Hot-Vee" layout, with the
turbochargers being located between the banks of cylinders and the intake
manifolds which are located outside of the engine. The N63 is also BMW's first V8
engine to use direct injection.

19. In 2012, a "Technical Update" was applied to the N63, resulting in the N63TU’
variants (also known as N63B440/). The main upgrade was the addition of
Valvetronic. Other changes include revised turbochargers, removal of the blowoff
valve}, lighter pistons(2], forged conrods,3] and crankshaft(4], addition of an oil
catch can systems}, revised fuel system and addition of a second coolant pumpyie).
20. It is alleged by the Plaintiffs that the N63 engine excessively burns oil due to a
“defect,” also known as, “oil consumption defect.”

21. The function of motor oil relating to lubrication; The N63 engine is made up of

many moving components which the majority are composed of metal. Oil is

essential for keeping those components from grinding against each other. In less

than seven-seconds an engine oil cycle completes providing lubrication to the

crankshaft, bearings and pistons.

22. The function of motor oil relating to cooling; As the N63 engine operates, the

mechanical energy produces heat as a byproduct. Most vehicles are equipped with

an active cooling system that maintains optimal operating temperature. As oil

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 7 of 46 PagelD: 12

Case No. Brodsky/Martin v. BMW Page 7 of 46

lubricates the moving components it also absorbs some heat, preventing from

unnecessary friction.

23. The function of motor oil relating to protection; The ultimate function of

engine oil is to protect the engine from damage due to friction.

24. The Defendants knew or should have known about this defect since 2008 or

before when it was first discovered.

25. Secondly the Plaintiffs allege that as a direct result of the N63 engine defect

burning excessive amounts of oil, it directly contributed to the subject vehicle

suffering from premature battery failure in addition to excessive heat being

generated due to a design flaw related to the turbo chargers being located between

the banks of cylinders and the intake manifolds which are located outside of the

engine causing the fans to run even after the engine shuts off.

FOOTNOTES: [1] A blow-off valve (BOV), dump valve or compressor bypass valve (CBV) is a pressure release
system present in most turbocharged engines. Its main purpose is to take the strain off the turbo when the throttle is

suddenly released.
[2] A piston is a component of reciprocating engines, reciprocating pumps, gas compressors and pneumatic

cylinders, among other similar mechanisms. It is the moving component that is contained by a cylinder and is mace
gas-tight by piston rings. In an engine, its purpose is to transfer force from expanding gas in the cylinder to the

crankshaft via a piston rod and/or connecting rod. In a pump, the function is reversed and force is transferred from
the crankshaft to the piston for the purpose of compressing or ejecting the fluid in the cylinder. In some engines, the

piston also acts as a valve by covering and uncovering ports in the cylinder.
[3] A connecting rod is a rigid member which connects a piston to a crank or crankshaft in a reciprocating engine.

Together with the crank, it forms a simple mechanism that converts reciprocating motion into rotating motion.
[4] A crankshaft— related to crank—is a mechanical part able to perform a conversion between reciprocating motion

and rotational motion. In a reciprocating engine, it translates reciprocating motion of the piston into rotational
motion; whereas in a reciprocating compressor, it converts the rotational motion into reciprocating motion.

(5] An oil catch tank (oil catch can) is a device that is fitted into the cam/crank case ventilation system on a car.
Installing an oil catch tank (can) aims to reduce the amount of oi! vapors re-circulated into the intake of the engine.

{6] A coolant pump is a type of pump used to recirculate a coolant, generally a liquid, that is used to transfer heat
away from an engine or other device that generates heat as a byproduct of producing energy.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 8 of 46 PagelD: 13

Case No. Brodsky/Martin v. BMW Page 8 of 46

 

 

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26. On one particular day the Plaintiffs experienced a critical loss of power while
driving causing the subject vehicle to shut off in the middle of an intersection on
Madison Avenue (a major thoroughfare in New York City) during rush hour putting
their lives in danger.

27. On several occasions the subject vehicle suffered a precipitous loss of power
limiting its maximum speed due to a drop in oil pressure which also precipitated a

clear and present danger to body and soul.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 9 of 46 PagelD: 14

Case No. Brodsky/Martin v. BMW Page 9 of 46

FIRST ALLEGATION OF SUBSTANCE
Oil Consumption Defect

28. The name “BMW” aka Bavarian Motor Works is iconic and well recognized
for dealing, selling, repairing, warranting and designing automobiles that are
manufactured in Germany and at satellite facilities in the United States and
throughout the world.

29. As an iconic brand specializing in selling, designing and manufacturing high

end automobiles, a consumer is led to reasonably expect when he or she purchases

a vehicle from BMW, it will be sold as functional and without any known defects.

30. BMW manufactured and distributed vehicles powered by N63 engines from

2008 until present. The N63 engine was a unique new design in respect to the

exhaust manifolds|7] and turbochargersjs} being located between the banks of

cylinders and the intake manifolds[9] which are located outside of the engine; the
opposite of the traditional arrangement for a V8 engine.

31.A problem with the N63 engine was discovered by BMW as far back as 2008.
There was/is an inherent design flaw or defect that caused those engines to burn oil

at an alarming rate which precipitated an abnormal amount of heat generated

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FOOTNOTES: [7] In automotive engineering, an exhaust manifold collects the exhaust gases from multiple
cylinders into one pipe. The word manifold comes from the Old English word manigfeald (from the Anglo-Saxon
manig [many] and feald [fold]) and refers to the folding together of multiple inputs and outputs (in contrast, an inlet
or intake manifold supplies air to the cylinders).

[8] A turbocharger, or colloquially turbo, is a turbine-driven forced induction device that increases an internal
combustion engine's efficiency and power output by forcing extra compressed air into the combustion chamber_11I21
This improvement over a naturally aspirated engine's power output is due to the fact that the compressor can force
more air—and proportionately more fuel —into the combustion chamber than atmospheric pressure (and for that
matter, ram air intakes) alone.

{9] An intake manifold is a component that delivers either air or an air/fuel mixture to the cylinders. The design of
these components varies widely from one application to another, but they all perform that same basic function, and
they all have a single input and multiple outputs. In carbureted engines, the intake manifold connects the carburetor
to the intake ports. In fuel-injected engines, the intake manifold connects the throttle body to the intake ports.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 10 of 46 PagelD: 15

Case No. Brodsky/Martin v. BMW Page 10 of 46

causing the batteries in vehicles powered by N63 engines to need replacing as

often as every year or 10,000 miles which is well before its prescribed life cycle of

six years. The excessive heat also precipitates a shorter engine life due to abnormal

wear and tear.

32. Due to excessive heat generated as a byproduct from N63 engines, the electric

fans[10] mounted in front of the engine kept running even after the car shut down

therefore continuously drawing energy from an insufficient 90 ampere battery

which is it’s only source of power.

33. Even though BMW knew or should have known there was a problem with

excessive heat and insufficient battery power they failed their customers amongst

other things by not providing a higher capacity battery to accommodate the N63

engines greater demands.

34. The battery deficiencies where first addressed by BMW when they issued
technical bulletin SI B61 0 14 in December, 2014. The advisory to dealers

suggested the replacement of batteries be routinely added to each oil change within

the automobiles warranty period of 4 years or 50,000 miles.

35. The defect in the N63 engine can only be described as catastrophic. Not only

does excessive oil consumption cause damage to aluminum constructed engine

FOOTNOTES:
[10] The engine cooling fan is designed to move air through the radiator when the vehicle is at slower speeds or

stopped. This air flow removes heat from the coolant created by the engine using the radiator as a conductor. An
engine cooling fan is temperature controlled to only run when needed. [11] The cylinder block is an integrated

structure comprising the cylinder(s) of a reciprocating engine and often some or all of their associated surrounding
structures (coolant passages, intake and exhaust passages and ports, and crankcase). The term engine block is often

used synonymously with "cylinder block" (although technically distinctions can be made between en bloc cylinders
as a discrete unit versus engine block designs with yet more integration that comprise the crankcase as well).

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 11 of 46 PagelD: 16

Case No. Brodsky/Martin v. BMW Page 11 of 46

blocksi11], it also causes them to prematurely seize during operation. The defects

may also engender bodily harm or even death when the vehicle unexpectedly stops

functioning at a most importune moment. Such an incident occurred when Donna

Martin, Plaintiff was driving on Madison Avenue, New York City in the middle of
an intersection at rush hour. During that incident the BMW she was driving stalled
due to low oil and failed to restart for fifteen (15) minutes thereafter causing a
major traffic jam prompting other motorists who were very upset to yell, honk and
display obscene jesters as sign of their displeasure.

36. Upon execution of a lease to take possession of the subject vehicle none of the
representatives who work at BMW of Manhattan including Greg Pol the salesman,
the finance officer, nor the manager mentioned, referenced, acquainted, adduced,
alluded, indicated, specified nor disclosed the existence of any defects even though
they were previously informed by BMW that the subject vehicle with a N63 engine
consumed excessive oil and had a propensity for diminished battery life since or
before 2008. In fact when the subject vehicle was delivered a certified BMW
trained technician spent nearly one hour explaining the features of the subject
vehicle to the Plaintiffs without mentioning any of the aforesaid defects. During

the same technical tour of the subject vehicle both Plaintiffs were introduced to

members of the service advisory staff who although wishing them well failed to

mention the problems existed pertaining to excessive oil burning and diminished

battery performance despite being aware prior, during and after the subject vehicle

was delivered

37. During the entire time the subject vehicle was under the Plaintiffs control they

were forced to keep on hand in the trunk at least one extra quart of synthetic motor

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 12 of 46 PagelD: 17

Case No. Brodsky/Martin v. BMW Page 12 of 46

oil at all times thereby causing the ever present distasteful odor of motor oil

permeating throughout its confines which was especially pungent during the
summer months.

38. BMW of Manhattan, BMW of North America, The BMW Group Germany and
BMW Group Financial Services accepted a down payment and first months lease
payment for the subject vehicle despite having prior knowledge that those
explicated defects existed. The knowledge the Defendants chose to sequester or
keep secret might have cost the Plaintiffs in excess of Twenty-Thousand Dollars
($20,000.00+) to replace the N63 engine due to excessive wear and tear when the
warranty expired. In addition BMW had prior knowledge that numerous batteries
would need replacing as well as quart after quart of synthetic motor oil being
added on a regular basis.

39. Upon delivery of the subject vehicle, BMW suggested the oil be changed every
15,000 miles. After concluding the excessive oil burning problem had burgeoned to
epidemic proportions it provoked BMW to issue service bulletin number B001314

which changed the required time interval for oil changes from 15,000 miles to

10,000 miles or once every year. That bulletin was issued secretly to BMW service

centers only and not to the public. At no time during the issuance of that bulletin

was there a mention of any defect to the Plaintiffs explaining the derivation for

change in frequency for required oil changes.

40. Had the Plaintiff’s been dutifully informed about the ongoing defects,

excessive oil consumption and diminished battery performance, they would not

have purchased, leased or had any association with the subject vehicle? There were

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 13 of 46 PagelD: 18

Case No. Brodsky/Martin v. BMW Page 13 of 46

many other comparable choices at time of lease in lieu of the potential time bomb

they committed to on two (2) separate occasions.

41. Despite being privy to the alleged defects, BMW of Manhattan, BMW of North
America, The BMW Group Germany and BMW Group Financial Services never
issued a recall to address, repair, fix, mitigate or solve those aforementioned
defects. There was nor is no offer to reimburse the Plaintiffs and those similarly
situated for costs incurred resulting from the defects the Defendants knew existed
since or before 2008 which was four (4) years prior to the execution of lease for
the subject vehicle.

42. Because the collective Defendants chose to intentionally coverup the defects
the Plaintiffs suffered great harm and injury. When the subject vehicle was
ultimately repossessed during lease number two (2) an alleged deficiency allegedly
owed by Donna Martin to BMW Group Financial Services came to light. She was
never informed or allowed an opportunity to purchase the subject vehicle at
auction to satisfy any alleged deficiency which contravenes current law. In fact at
time of auction the defects in the N63 engine were widely known to all including
the public which substantially diminished the value of the subject vehicle therefore

precipitating the alleged deficiency that haunts Donna Martin to this day. As a

result of that alleged monetary deficiency being published on Equifax, Experian

and TransUnion, Donna Martin’s credit was/is severely damaged to a point of

receiving rejections on car loans, being denied affordable housing and having her

credibility damaged. Wherefore Donna Martin and Jay Brodsky sustained injury

by being impugned monetarily, loss of property and significantly devaluing the

subject vehicle.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 14 of 46 PagelD: 19

Case No. Brodsky/Martin v. BMW Page 14 of 46

43. The Plaintiffs were forced to add oil to the engine of the subject vehicle at least
once (1) every month. Jay Brodsky is a disabled American who was responsible for
adding oil to the subject vehicle at the most inopportune times whether it be
raining, snowing, cold or hot with great pain to the Rheumatoid Arthritis he
suffered/suffers. Donna Martin has/had no knowledge about cars in general and
was/is incapable of tending to the subject vehicles excessive oil deficiencies.

44. The Defendants had a moral and fiduciary responsibility to disclose the
privately held defects to the public, particularly to their loyal customers,
particularly the Plaintiffs, allowing them the opportunity to decide whether or not
to lease or purchase a vehicle powered by a defective N63 engine. Secondly the
Defendants were required by law to recall vehicles sold or leased that were

powered by defective N63 engines to mitigate problems suffered by their
customers in a professional manner at their own expense. The Defendants shunned
their responsibility knowing a massive recall would be tantamount to incurring a
great monetary loss. The Defendants elected to instead conceal, withhold and
obfuscate the defects they knew existed since or before 2008.

45.The Defendants had a moral, fiduciary and legal obligation to disclose

the privately held defects they knew posed a significant hazard to those driving or

who were passengers in vehicles powered by N63 engines. Because BMWs have

built in governing systems that severely restricts the maximum speed due to

excessive heat or when running with low oil pressure grave consequences are

likely to occur. The sudden reduction of speed has potential to precipitate a

dangerous situation to the public who are likely sustain harm from a vehicles

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 15 of 46 PagelD: 20

Case No. Brodsky/Martin v. BMW Page 15 of 46

unexpected diminished speed. Those restrictions occur arbitrarily and without

warning to a driver or those driving near them.

46. Instead of informing owners and lessee’s of vehicles powered by N63 engines

BMW/The Defendants issued a series of bulletins which were directed exclusively

to their dealers. Bulletins or TSBs are issued when a manufacturer receives

widespread reports of a particular problem within the vehicles they sell.
47. The following are bulletins issued by BMW to their network of dealers:
(a.) NHTSA ID Number: 10046859

Service Bulletin Number: SIB-11-08-12

Summary: DUE TO DAMAGED SEAL RING, DURING ASSEMBLY, ENGINE
OIL IS LEAKING FROM ENGINE OIL PUMP VOLUME CONTROL VALVE
GASKET SEAL RING. MODELS E70, E71, FO1, F02, F04, FO7, F10, F12, F13.
NO MODEL YEARS LISTED.

CC

(b.) NHTSA ID Number: 10045282
Service Bulletin Number: SIB-11-07-12

Summary: BMW: WHILE DRIVING VEHICLE, AT
TIMES WOULD BE ROUGH RUNNING; WHITE OR BLUE SMOKE SEEN

EXITING EXHAUST SYSTEM AND THE ENGINE OIL IS CONSUMED
ABOVE SPECIFICATIONS.

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COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 16 of 46 PagelD: 21

Case No. Brodsky/Martin v. BMW Page 16 of 46

(c.) Service Bulletin Number: SIB-11-03-13

Summary:

-All engines normally consume a certain amount

of engine oil. This is necessary in order to properly lubricate the cylinder walls,
pistons, piston rings, valves and turbocharger(s), if equipped. In addition, engines
with less than 6,000 miles will generally consume additional engine oil because the
internal engine components are not fully seated (break-in). Therefore, engine oil
consumption complaints received prior to 6,000 miles cannot be considered.
Once a new or remanufactured engine has accumulated 6,000 miles, oil
consumption can be considered if there is a drastic change in the engine oil
consumption rate (e.g., the engine oil consumption rate triples) under similar
driving conditions.

Engines equipped with a turbocharger(s) will consume more engine oil than
normally aspirated engines (non- turbocharged). The additional oil that is
consumed in a turbocharged engine is mainly due to the turbocharger lubrication
requirements. Some of the engine oil normally migrates past the turbocharger
turbine bearing seals and will enter the intake tract of the engine.

-All turbocharged engines also require a complex crankcase ventilation system.

The crankcase ventilation system needs to maintain a small vacuum on the

crankcase and not allow the crankcase to be pressurized. Pressurizing the engine

crankcase can lead to external engine oil leaks and increased engine oil

consumption via the piston rings and valve seals. When the load and the boost

level of a turbocharged engine is varied, the path of the crankcase pressure is

changed. During the crankcase ventilation path transition, a small amount of

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 17 of 46 PagelD: 22

Case No. Brodsky/Martin v. BMW Page 17 of 46

engine oil will pass through the crankcase ventilation system and is additionally

consumed. The additional engine oil consumption of a turbocharged engine, as
compared to a normally aspirated engine, is normal and not a defect.

Oil Consumption specification:

- All BMW engines (excluding Motorsport) can consume up to 1 quart of engine
oil per 750 miles at any time.

- Due to the increased engine power, all Motorsport engines can consume up to 2.5
quarts of engine oil per 1,000 miles at any time.

Turbocharged Engines:

-Engines that are fitted with a turbocharger(s) will consume more engine oil than
naturally aspirated engines (non-turbocharged engines). In this case, a
turbocharged engine could require topping of engine oil more frequently. For
vehicles with N63 and N63T engines, refer to SI B11 01 13 for additional details.

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48. Instead of the Defendants proffering a, “mea copa,” to confess information

regarding the defects they already knew existed on or before 2008 the Defendants

instead engaged in a massive coverup to Keep those defects a well concealed

secret. The Defendants misrepresented and obfuscated the truth by telling their

customers, “The excessive oi] consumption was completely normal.” The

Defendants congruently imparted a willful effort to mislead their customers into

believing it was normal for all cars with turbochargers to consume oil excessively.

49. There of course is nothing normal about BMW automobiles consuming twenty

(20) quarts of synthetic oil over a prescribed time period which at time

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 18 of 46 PagelD: 23

Case No. Brodsky/Martin v. BMW Page 18 of 46

sale was fifteen thousand (15,000) miles between oil changes over the life of a

vehicle powered by the N63 engine.

50. In service bulletin B001314, “N63 Customer Care Package,” it was notated that
a radical change pertaining to the specified time period required for routine oil
change services was in effect. The change was from the original fifteen thousand
(15,000) miles for an oil service to ten thousand (10,000) for an oil service which

identified the following vehicles as effected:

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-F01 and FO2 (7 Series Sedan) — produced from 3/2009 to 6/2012 F04 (Active
Hybrid 7) — produced from 4/2010 to 6/2012

-F07 (Gran Turismo) — produced from 9/2009 to 6/2012

-F10 (5 Series Sedan) — produced from 3/2010 to 7/2013

-F12 (6 Series Convertible) — produced from 3/2011 to 7/2012 F13 (6 Series
Coupe) — produced from 7/2011 to 7/2012

-E70 (X5) — produced from 3/2010 to 6/2013

-E71 (X6) — produced from 7/2008 to 6/2014

-E72 (ActiveHybrid X6) — produced from 9/2009 to 9/2011

Ce ee

47. Upon receiving information from consumers, the National Highway Traffic
Safety Administration (“NHTSA”) issued a bulletin via the internet explicating a

widespread defect. The following is that explicated bulletin. (There were many

grammatical and spelling errors contained within that bulletin)

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COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 19 of 46 PagelD: 24

Case No. Brodsky/Martin v. BMW Page 19 of 46

(a.) NHTSA ID Number: 10678748 Date Complaint Filed: 01/25/2015 Vehicle:

2011 BMW 5501 Summary:
HAVE TO ADD OIL EVEY 500 MILES, AND I DID NOTICE THERES [sic] A

RECALL ON THE CAR BUT BMW DOES NOT WANT TO CALLITA
RECALL. I THINK TI [sic] MAY EFFECT CAR 5 YEARS FROM NOW.
(b.) NHTSA ID Number: 10691781

Date Complaint Filed: March 3, 2015

Vehicle: 2012 BMW X6

Summary:

VEHICLE HAS BEEN SMOKING, BURNING OIL AND LEAVING A BLACK
RESIDUE ON TAIL PIPES AND ON PAINT AROUND TAILPIPES SINCE
APPROXIMATELY 6 MONTHS OLD. BMW SERVICE ADVISED OIL USAGE
WAS NORMAL FOR VEHICLE AND REFUSED TO INVESTIGATE
FURTHER. OIL CONSUMPTION HAS CONTINUED TO INCREASE TO AS
MUCH AS 6 QUARTS IN LESS THAN 5,000 MILES. HAVING SERIOUS
ENGINE MALFUNCTIONS WITH ENGINE SHUT DOWN, WITHOUT

WARNING AND WITHOUT ABILITY TO COMPENSATE FOR
TRAFFICCONDITIONS. BELIEVE THERE IS AN INHERENT DEFECT IN

THE ENGINE AND THAT CAR IS A DANGER. BMW SERVICE SIMPLY
CHECKS FOR VISIBLE OIL LEAKS BUT REFUSES TO INVESTIGATE

FURTHER.

Ce ec

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 20 of 46 PagelD: 25

Case No. Brodsky/Martin v. BMW Page 20 of 46

(c.) NHTSA ID Number: 10692476

Date Complaint Filed: March 9, 2015 Vehicle: 2012 BMW 750LI Summary:
CONSUMER WRITES IN REGARDS TO HIGH OIL CONSUMPTION. *SMD
THE CONSUMER STATED HE HAD TO ADD OIL FREQUENTLY.

Cr

(d.) NHTSA ID Number: 10534669

Date Complaint Filed: August 10, 2013

Vehicle: 2013 BMW 550I

Summary:

ENGINE CONTINUES TO BURN THROUGH OIL APPROXIMATELY EVERY
1,500 MILES, WHICH COULD LEAVE THE VEHICLE STRANDED AND
INOPERABLE. IT'S UNACCEPTABLE IN A BRAND NEW VEHICLE.

Oe

(e.) Online Complaint

Date of Complaint: May 21,2013 Vehicle: 2013 BMW 750 Summary:

a. I got a new 2013 750 this last February and I am having problems with the oil
levels.

b. I drove the car for 2,700 and I got a indicator that the oil levels were low.

c. I went to the dealer and put 1 QT of oil. After 20 days I got it again at 3700

miles.

d. I went to the dealer and put another QT and measured the level, it was a the top.

e. Two days later, I re-measure the level and now is at the mid level.

f. No response from the dealer with a logical answer, same from BMW HQ, just

phone talk and no real answers.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 21 of 46 PagelD: 26

Case No. Brodsky/Martin v. BMW Page 21 of 46

51. The Defendants conspired to conceal, withhold and obfuscate the defects by

first issuing a denial or stating emphatically that, “The N63 engine burning oil at an

alarming rate is quite normal due to the nature of it being a high performance.”

SECOND ALLEGATION OF SUBSTANCE
Battery defects relating to the N63 engine

52. The Plaintiffs allege that the battery[12] provided as standard equipment to the
subject vehicle, was inherently susceptible to premature wear due to a design flaw
particularly pertaining to the N63 engine. The well documented defect was/is
serious enough to warrant a complete battery replacement at least once every year
or within every ten thousand (10,000) miles of use which is far below the standard

six (6) years expected for normal battery life.

53. There is a design flaw associated with the cooling systems in BMWs equipped
with N63 engines that are powered by a standard 90 ampere battery that is standard
equipment. The standard equipment 90 ampere batteries are insufficient and cannot
handle the energy loads they are required to regularly handle.

54. Documented within bulletin number SI B61 30 14 dated December, 2014 there
are acknowledgments of those aforementioned battery problems. They read as
follows:

(a.) Vehicles with N63 engines require additional cooling capacity, and the
activation of the various cooling system components places additional demands on

the battery.

FOOTNOTE: [12] An automotive battery is a rechargeable battery that supplies electrical current to a motor

vehicle. Its main purpose is to feed the starter, which starts the engine. Once the engine is running, power for the
car's electrical systems is supplied by the alternator.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 22 of 46 PagelD: 27

Case No. Brodsky/Martin v. BMW Page 22 of 46

(b.) Several enhancements have been made to the power management system on

such vehicles. However, in a quest to ensure total customer satisfaction, please
replace the 12-volt battery on a preventive maintenance basis at every engine oil
service (engine oil service counter # 1, # 2, # 3, etc.), unless the battery was
replaced within the last 12 months.

(c.) VEHICLES EQUIPPED WITH AN N63 ENGINE ONLY

This procedure only pertains to the models and production ranges listed above that

are equipped with an N63 engine.

At every engine oil service covered under the 4 year/50,000 miles BMW

Maintenance Program:

(1.) Perform a Key Read on the vehicle and check to see if an engine oil service is

“Recommended” or “Due” by miles or will be required in the next 60 days or less.

(2.) Confirm the battery was not replaced previously during the last 12 months.

(3.) If the conditions described in steps 1 and 2 are satisfied, replace the battery

simultaneously with the performance of the engine oil service.

Important note: Do not perform an energy diagnosis for this battery replacement.
(4.) Replace the battery with a 105 Ah battery (this is an upgrade from the
originally fitted 90 Ah battery).

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55. The aforementioned bulletin notates a significant increase in demand on the

N63 electrical system in consonance with the design of the subject vehicles cooling

system. It must also be notated that the bulletin provides no provision for BMW

and their appointed agents and dealers to take financial responsibility for costs

incurred by their customers once the warranty expires.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 23 of 46 PagelD: 28

Case No. Brodsky/Martin v. BMW Page 23 of 46

56. After the four (4) year or fifty-thousand (50,000) mile warranty expires it is the

customers responsibility to purchase and replace any defective battery even though

the cause was a result of an inherent design flaw BMW knew existed since or

before 2008:

Below are the recommended battery options for your vehicle. Depending on vehicle
specifications, a battery from a specific tier may be required.
To redeem your offer, choose your dealer and print out the price sheet below. Offer

valid only with printed price sheet.

     

PECTIC EY meet

MWS

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PERFORMANCE BATTERY

For high powered and advanced vehicles that require additional power due
to vehicle options, specifications and custom configurations.

470

includes Parts and Labor.
BMW of Manhattan

555 W 57th St

New York, NY 10019-2925
Phone: (212) 586-2269

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 24 of 46 PagelD: 29

Case No. Brodsky/Martin v. BMW Page 24 of 46

57. BMW, their agents and authorized dealers aka the Defendants were privy to

knowing about defects such as excessive oil consumption and diminished battery

performance before the Plaintiffs, particularly Donna Martin considered leasing the

subject vehicle from BMW of Manhattan. It has been established that those defects

concealed, withheld and obfuscated by the Defendants on or before 2008.

Numerous technical service bulletins (TSBs) that included but were not limited to

prerelease testing data, early consumer complaints addressing excessive oil

consumption and premature battery failure. As a result of disclosing those facts

there was testing, analyzation of repair orders, analyzation of high warranty rates

precipitated by customer complaints that were concealed, withheld and obfuscated

as they potentially caused BMW and the Defendants to obligate themselves for

thousands of dollars in associated costs of repairs to mitigate those defects.

58. Despite the Defendants being fully apprised of the potential consequences and

associated costs, they still sequestered pertinent information from their customers

who were considering purchasing or leasing vehicles powered by N63 engines. The

Defendants obfuscated the following:

Ce eo

(a) Failed to disclose, at and after the time of purchase and thereafter, any and all

known material defects or material nonconformities of N63 powered Vehicles,

including the Oil Consumption and Battery Defects and, among others, the

frequent supplemental oil costs between regularly scheduled oil changes and

frequent need to replace the battery;

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document1-1 Filed 09/13/18 Page 25 of 46 PagelD: 30

Case No. Brodsky/Martin v. BMW Page 25 of 46

(b) Failed to disclose at the time of purchase that BMW vehicles and their N63
engines were not in good working order, were defective, and were not fit for their
intended purpose; and

(c) Failed to disclose or actively concealed the fact that the BMW vehicles and
their N63 engines were defective as a result of excessive oil consumption and
battery performance defects, despite the fact that the Defendants knew or should
have known of such defects prior to vehicles powered by N63 engines being sold.
59. BMW and the Defendants provide/provided a warranty to all newly purchased
or leased vehicles that includes repairs for all defects discovered without charge tor
parts or labor as long as those defects are discovered within the prescribed four (+)
years or fifty-thousand (50,000) miles whichever occurs/occurred first.

60. The remedies explicated within the offered warranty does not however include
the outlay of money by their customers to purchase and keep with them quart after
quart of synthetic motor oil|13] as prompted by the excessive oil consumption.

61. When the Plaintiffs leased their new vehicle from BMW of Manhattan there
was no realistic expectation of necessity to purchase additional synthetic oil

beyond what was/is required at routine oil changes.

62. When the Plaintiffs leased their new vehicle from BMW of Manhattan they

never expected to encounter defects that were previously known to the Defendan‘s

and concealed from them. They never expected the Defendants to conceal,

withhold and obfuscate information of such an important nature that would

potentially endanger them by sustaining injury, death or exorbitant extra costs

associated with their purchase/lease.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 26 of 46 PagelD: 31

Case No. Brodsky/Martin v. BMW Page 26 of 46

63. As a consequence of the Defendants dishonesty, the Plaintiffs were subjected to
a newly acquired vehicle that would eventually have a significantly diminished
value which ultimately caused extreme detriment to Donna Martin when her
personal credit history was impugned by BMW Group Financial Services.

64. Resulting from the subject vehicles diminished value that was precipitated by
the well known defects, when it was auctioned at public sale there was an alleged

monetary deficiency of nearly $13,000.00. As a direct result of that occurring

Donna Martin was denied past, present and future car loans, denied affordable

housing and denied consumer credit at a reasonable interest rate thereby causing a

loss at great detriment to both Plaintiffs.

TOLLING STATUTE OF LIMITATIONS
65. In Koch v, Christie's Int'l PLC, 699 F.3d 141 (2d Cir. 2012), “A statute of

limitations may be tolled due to defendant's fraudulent concealment if plaintiff

establishes:

(1) defendant wrongfully concealed material facts relating to defendant's
wrongdoing;

(2) (2) concealment prevented plaintiff's discovery of nature of claim within the
limitations period; and

(3) (3) plaintiff exercised due diligence in pursuing discovery of claim during the

period plaintiff seeks to have tolled.”

FOOTNOTE [13] Synthetic oil is a lubricant consisting of chemical compounds that are artificially made. Synthetic
lubricants can be manufactured using chemically modified petroleum components rather than whole crude oil, bu:

can also be synthesized from other raw materials. Synthetic oil is used as a substitute for petroleum-refined oils
when operating in extreme temperature.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 27 of 46 PagelD: 32

Case No. Brodsky/Martin v. BMW Page 27 of 46

THE COURT MUST APPLY NEW JERSEY LAW
66. The BMW Group Inc. has its BMW North American headquarters located in
Woodcliff Lakes, New Jersey. The BMW North American Technical Training
Center is located in Woodcliff Lakes, New Jersey. The BMW Vehicle Preparation
Center is located in Port Jersey, New Jersey where BMW automobiles arrive in the
United States by cargo ship.
67. BMW of Manhattan has its headquarters and conducts business from a
dealership located in New York, New York. They sell and lease BMW, Mini
Cooper and Rolls Royce automobiles to customers who reside in New Jersey/New
York and nationwide. The Plaintiffs subject vehicle was leased from BMW of
Manhattan on two separate occasions when Donna Martin signed, first a new car
lease and then a preowned car lease for the same subject vehicle.
68. The Plaintiffs resided in New Jersey when the first new lease was executed at
BMW of Manhattan.
69. The Plaintiffs resided in New York when a second preowned car lease was
executed at the same dealership, BMW of Manhattan.
70. The subject vehicle was serviced both in New Jersey and in New York. The

conspiracy to conceal, withhold and obfuscate information that likely originated

from BMW of North America at their headquarters in Woodcliff Lakes, New

Jersey. At BMW of North America’s headquarters and technical training center

decisions pursuant to marketing, advertising and strategy are conceived. That was/

is where the conspiracy that caused the Plaintiffs to sustain injury was/is

formulated.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 28 of 46 PagelD: 33

Case No. Brodsky/Martin v. BMW Page 28 of 46

QUESTIONS OF IMPORTANCE BEFORE THE COURT
71. There are many questions before the court redressing issues pertaining to the
BMW N63 engine:
(a) Whether N63 BMW engines are/were defectively designed or manufactured
such that they are not suitable for their intended use;
(b) Whether N63 BMW engines are defectively designed or manufactured such
that they consume excessive quantities of oil;
(c) Whether BMW N63 engines suffer from an Oil Consumption Defect that would
be considered material by a reasonable consumer;
(d) Whether BMW N63 engines are defectively designed or manufactured such
that they cause premature wear of the battery resulting in the need for abnormally
frequent battery replacements;
(e) Whether BMW N63 engines suffer from a defect causing premature wear of the
battery and abnormally frequent battery replacements would be considered
material by a reasonable consumer;
(f) Whether as a result of Defendant’s concealment or failure to disclose material

facts, caused the Plaintiffs to act to their detriment by purchasing a BMW vehicle

powered by an N63 engine;
(g) Whether the Defendants were aware of the Oil Consumption Defect before

vehicles powered by N63 were first sold to consumers;

(h) Whether Defendants continued to sell vehicles powered by N63 engines to

consumers after they were aware of the Oil Consumption Defect;

(i) Whether the Oil Consumption Defect constitutes an unreasonable safety risk;

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 29 of 46 PagelD: 34

Case No. Brodsky/Martin v. BMW Page 29 of 46

(j) Whether Defendants were aware of the Battery Defect before vehicles powered
by N63 engines were first sold to consumers;

(k) Whether Defendants continued to sell vehicles powered by N63 engines to
consumers after they were aware of the Battery Defect;

(1) Whether the Battery Defect constitutes an unreasonable safety risk;

(m) Whether Defendants breached the express and implied warranties with
respect to the vehicles powered by N63 engines;

(n) Whether Defendants had a duty to disclose the defective nature of the

vehicles powered by N63 engines and their Oil Consumption and Battery Defects
to the Plaintiffs;

(0) Whether Defendants violated the consumer protection statutes of New

Jersey and New York when they sold vehicles powered by N63 engines to
consumers who suffered from the Oil Consumption and Battery Defects;

(p) Whether Plaintiffs are entitled to equitable relief, including but not limited to a
preliminary and/or permanent injunction;

(q) Whether Plaintiffs are entitled to damages and the amount of any such
damages; and

(r) Whether Defendants should be held liable to Plaintiff’s who incurred damages.

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COUNT ONE
Violation of the New Jersey Consumer Fraud Act
56:8-2. Fraud, etc., in connection with sale or advertisement of merchandise or
real estate as unlawful practice
72. The act, use or employment by any person of any unconscionable commercial

practice, deception, fraud, false pretense, false promise, misrepresentation, or the

knowing, concealment, suppression, or omission of any material fact with intent

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 30 of 46 PagelD: 35

Case No. Brodsky/Martin v. BMW Page 30 of 46

that others rely upon such concealment, suppression or omission, in connection
with the sale or advertisement of any merchandise or real estate, or with the
subsequent performance of such person as aforesaid, whether or not any person has
in fact been misled, deceived or damaged thereby, is declared to be an unlawful
practice; provided, however, that nothing herein contained shall apply to the owner
or publisher of newspapers, magazines, publications or printed matter wherein
such advertisement appears, or to the owner or operator of a radio or television
station which disseminates such advertisement when the owner, publisher, or
operator has no knowledge of the intent, design or purpose of the advertiser.
L.1960, c. 39, p. 138, s.2. Amended by L.1967, c. 301, s. 2, eff. Feb. 15, 1968; L.
1971, c. 247, s. 1, eff. June 29, 1971; L.1975, c. 294, s. 1, eff. Jan. 19, 1976.

73. The Plaintiffs, particularly Donna Martin, leased a new vehicle from BMW of
Manhattan and associated Defendants.

74. The Plaintiffs, particularly Donna Martin, leased the same subject vehicle as
preowned from BMW of Manhattan and associated Defendants.

75. The Defendants intentionally withheld, concealed and obfuscated vital
information from the Plaintiffs causing them to sustain injury. Withholding such
vital informational constitutes unlawful and illegal business practices promulgated
by the Defendants.

76. The Defendants intentionally and willfully conspired to withhold vital
information about all vehicles powered by BMW N63 engines excessively
consuming oil at an abnormal and alarming rate. Defects known by the Defendants
caused consumers are compelled to add extra quarts of synthetic oil at their own

expense every 750 miles in consonance to the originally prescribed 15,000 miles

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 31 of 46 PagelD: 36

Case No. Brodsky/Martin v. BMW Page 31 of 46

later changed to 10,000 miles unbeknownst to the Plaintiffs during the entire time
of their lease.

77. The Defendants intentionally and willfully conspired to withhold vital
information about vehicles powered by BMW N63 engines having defects that
caused mandatory battery replacements as often as every 10,000 miles or once
every year. Once the warranty expired all costs for battery replacement and labor
devolved to becoming the consumers responsibility with no further obligation
attributed to the Defendants to pay for such repairs.

78. The Defendants knowingly and willfully conspired to withhold, conceal and
obfuscate vital information regarding defects known only to them that effected a
vehicle leased to the Plaintiffs powered by an N63 engine two separate times, once
as a new vehicle and again as a preowned vehicle. By engaging is such illegal and
unlawful acts the Defendants denied the Plaintiffs an opportunity to impart an
educated decision whether or not to purchase a defective vehicle at great expense
or whether to purchase another vehicle that is/was free of defects.

79. The information concealed, withheld and obfuscated by the Defendants
exemplifying known defects endangered the Plaintiffs, public in general,
pedestrians and other motorists because those defects potentially could/would

cause those unsuspecting individuals to sustain injury.
80. By the Defendants willfully engaging in unlawful and illegal acts of trade ancl

commerce they violated the New Jersey Consumer Fraud Act.

81. The Defendants by their unconscionable acts caused the Plaintiffs to regularly

add oil to the engine when the check oil light appeared on the information cluster

of the subject vehicle. During the course of leasehold for the subject vehicle the

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 32 of 46 PagelD: 37

Case No. Brodsky/Martin v. BMW Page 32 of 46

battery discharged therefore warranting service. Those issues impugned the
Plaintiffs by significantly diminishing the value of the subject vehicle which at
some later point directly caused great monetary harm along with pain and suffering
to occur. Wherefore the Plaintiffs are entitled to be remunerated for such damages
by the court imposing treble damages, remuneration for costs associated with
adjudicating the issues before the court, punitive damages, compensation for
intentional infliction of emotional distress, damages associated with negligent
infliction of emotional distress, damages for the Defendants conversion of the
Plaintiffs funds and other appropriate damages as the court see’s fit.

82. There is a direct correlation between the Defendants conspiring to conceal,
withhold and obfuscate information required by the Plaintiffs to impart an educated
assessment whether or not it was prudent to lease a defective motor vehicle that
would diminish in value upon disclosure by the Defendants of those defects to the
public.

83. The court must enjoin the Defendants from further engagement in those illegal

acts to protect the public from sustaining injury.

COUNT II
BREACH OF EXPRESS WARRANTY
NJSA. 12A:2-316

84. Prior to leasing the subject vehicle from BMW of Manhattan and the

Defendants, the Plaintiffs relied on facts proffered by the Defendants warranting

that the goods and services they sold were of the highest quality, free from defects

in respect to the materials used and the craftsmanship imparted to create such an

alleged high quality vehicle. The Defendants expressly warranted to the Plaintiffs

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 33 of 46 PagelD: 38

Case No. Brodsky/Martin v. BMW Page 33 of 46

that those same high quality standards applied to both new vehicles as well as
certified preowned.

85. The Defendants conspired, concealed and obfuscated the truth about defects
known only to them that ultimately impugned the Plaintiffs by causing premature
significant loss of value, which the Defendants had previous knowledge thereof.
86. Due to the surreptitious illegal actions of the Defendants who congruently
conspired to withhold valued information about inherent defects in N63 engines,
they cannot be allowed to escape being held accountable.

87. Time limitations for the adjudication of aforementioned issues must be deemed
invalid as the Plaintiffs had no way to address the issues in a court of law because:
the Defendants concealed, withheld and obfuscated facts only they knew existed

until recently disclosed.

COUNT III
BREACH OF IMPLIED WARRANTY
NJ Rev Stat § 12A:2-314

88. WHEREFORE, Plaintiffs bring this action on behalf of themselves ProSe.
89. As defined within the Uniform Commercial Code, BMW including, The BMW

Group Inc., BMW of North America, BMW Group Financial Services and BMW

of Manhattan collectively known as the Defendants are considered to be,

“Merchants.”

90. The subject vehicle and those similarly situated are considered as, “Goods” by

those same standards.

91. When both leases associated with the subject vehicle were executed, the
Defendants congruently implied prior to precipitating said sale/lease that the

subject vehicle was, “Merchantable” and “Free of Defects.”

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 34 of 46 PagelD: 39

Case No. Brodsky/Martin v. BMW Page 34 of 46

92. Due to the surreptitious concealment, withholding and obfuscation of those
defects known only by the Defendants, caused the Plaintiffs to sustain harm and
injury therefore entitling them to compensation for damages incurred.

93. Due to the surreptitious illegal actions of the Defendants who congruently
conspired to conceal, withhold and obfuscate valued information about inherent
defects in N63 engines only they knew existed, they cannot avoid being held
accountable.

94. Time limitations for the adjudication of those aforementioned issues must be
deemed invalid as the Plaintiffs had no way to address the issues in a court of law
because the Defendants concealed, withheld and obfuscated facts only they knew

existed until recently disclosed.

COUNT IV
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

95. In addition to the express terms of a contract, the law provides that every
contract contains an implied covenant of good faith and fair dealing. This means
that, even though not specifically stated in the contract, it is implied or understood
that each party to the contract must act in good faith and deal fairly with the other

party in performing or enforcing the terms of the contract.{14]

96. To act in good faith and deal fairly, a party must act in a way that is honest and

faithful to the agreed purposes of the contract and consistent with the reasonable

expectations of the parties.

97. A party must not act in bad faith, dishonestly, or with improper motive to

destroy or injure the right of another party to receive the benefits or reasonable

expectations of a contract.

98. WHEREFORE, Plaintiffs bring this action on behalf of themselves ProSe.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 35 of 46 PagelD: 40

Case No. Brodsky/Martin v. BMW Page 35 of 46

99. A covenant of good faith and dealing is implied in all contracts executed in the
State of New Jersey and New York.

100. The Plaintiffs, particularly Donna Martin, adhered to the terms of the lease
contract presented to them by the Defendants and duly executed said lease upon
delivery of the subject vehicle.

101. The collective Defendants breached the covenant of good faith and dealing by

concealing, withholding and obfuscating defects known only to them that applied

exclusively to BMW N63 engines. They failed to disclose that N63 engines were

susceptible to excessive consume oil and that there was widespread battery defects

then failing to rectify or mitigate those defects.

102. By the Defendants acting with malfeasant intent, they denied the Plaintiffs «

reasonable opportunity to adjure a suitable decision to prevent themselves from

sustaining injury in amounts yet to be determined by this court.

COUNT V
VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
15 U.S.C. § 2301, et seq.
103. WHEREFORE, Plaintiffs bring this action on behalf of themselves ProSe.

104. As defined by The Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq..

the Plaintiffs are, “Consumers.”

105. The Defendants who are all associated with “BMW” are, “Suppliers” and

good faith in its performance or enforcement.” N.J.S.A, 12A:1-203. Good faith is generally defined as “honesty ir
fact in the conduct or transaction concerned.” N.J.S.A. 12A:1-201(19). “Good faith in the case of a merchant means

honesty in fact and the observance of reasonable commercial standards of fair dealing in the trade.” N.J.S.A. 12A:2-
103(b). Although the U.C.C. governed in Sons of Thunder, Inc., supra, the Court stated that the common law duty

also influenced the Court's analysis. Sons of Thunder, Inc. v. Borden, Inc., supra, at 420-421.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 36 of 46 PagelD: 41

Case No. Brodsky/Martin v. BMW Page 36 of 46

“Warrantors,” as defined in The Magnuson-Moss Warranty Act, 15 U.S.C. §
2301(6), et seq.

106. The subject vehicle powered by an N63 engine is a, “Consumer Product,” as
defined in The Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.

107. Upon delivery and prior to that event, the Plaintiffs were proffered a, “Written
Warranty,” as defined in The Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et
seq.; All vehicles sold by BMW are covered under 15 U.S.C. § 2301(7).

108. One the cardinal predicating factors the Plaintiffs relied on when leasing the
subject vehicle was the, “Express Warranty,” particularly its length and scope.

109. The subject vehicle came equipped with a standard N63 engine which as
implied by the Defendants was free of defects. Instead when the Plaintiffs acquired
possession after executing a lease contract, particularly Donna Martin, was
mislead, beguiled, betrayed and even defrauded by the Defendants who failed to
disclose defects known only to them. Those undisclosed facts included excessive
oil consumption and inherent battery defects.

110. The, “Implied Warranties,” issued at time of lease execution for the subject
vehicle was designed for the benefit of the Plaintiffs and those similarly situated.

111. When the Defendants discovered those aforementioned defects they had

ample time and opportunity to rectify, replace and mitigate harm from those
defective parts that were/are the genesis of the defects. Instead they adjured a

decision to conceal, withhold and obfuscate the truth from the Plaintiffs because

disclosure would impugn them monetarily. Presently it is to late for the Defendants

to informally satisfy the unlawful acts they committed in the past. The Plaintiffs

were impugned beyond the pale of imagination when Donna Martin’s credit was

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 37 of 46 PagelD: 42

Case No. Brodsky/Martin v. BMW Page 37 of 46

ruined, injured and subverted as a result of the subject vehicle being sold as

undervalued at auction which created a monetary deficiency that to this day is still

unsatisfied. BMW acted recklessly and without regard for the Plaintiffs well being.
112. Had the Plaintiffs demanded to return the subject vehicle prematurely on their
own volition prior to the satisfaction of lease contract in toto because those defects
significantly devalued its value, BMW would have rejected the action outright and
retaliated against the Plaintiffs for not satisfying the lease.

113. The Defendants were repeatedly notified about consumer complaints about the
excessive oil consumption and diminished battery performance by the numerous
service requests they received and warranty data that was readily available to them
by their engagement in extensive research.

114. The Plaintiffs sustained damages relating to the Defendants breach of,
“Written Warranty,” and other damages that can only be determined by a jury at
trial. The Plaintiffs are entitled to recover actual damages sustained, damages
relating to diminished value of the subject vehicle that resulted in a serious
monetary deficiency to Donna Martin when the vehicle was ultimately sold at
auction, damages for higher housing costs, damages for paying higher interest rates
to acquire consumer credit, damages for the intentional infliction of emotional

distress, damages for negligent infliction of emotional distress, damages for

libeling Donna Martins financial reputation, punitive damages for engaging in

unlawful and corrupt acts at the Plaintiffs peril, conversion damages, compensation

for costs to adjudicate this complaint and other relief as the court see’s fit.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 38 of 46 PagelD: 43

Case No. Brodsky/Martin v. BMW Page 38 of 46

COUNT VI
DECEPTIVE ACTS AND PRACTICES UNLAWFUL
N.Y. Gen. Bus. Law § 349

115. BMW of Manhattan is registered business located in New York, New York that
engages in selling, leasing, servicing, repairing and warranting new and preowned
automobiles to the public thereby are considered as, “Merchants,” by New York State.
116. The Plaintiffs leased a vehicle from BMW of Manhattan on two separate occasions.
Both times the Plaintiffs, particularly Donna Martin, leased the same subject vehicle
powered by an N63 engine. For those reasons the Plaintiffs are considered as,
“Consumers,” by New York State.

117. BMW of Manhattan received and kept secret information regarding defects that
hampered the performance and suppressed valuation of the subject vehicle. Therefore the
Defendants willfully and with prior knowledge of defects leased a vehicle to the
Plaintiffs, particularly Donna Martin, knowing those inherent defects would eventually
diminish significantly the value of the subject vehicle when the information was disclosed
to the public.

118. NewYork General Business Law § 349(a) and (b) clearly states the following:

(a) Deceptive acts or practices in the conduct of any business, trade or commerce

or in the furnishing of any service in this state are hereby declared unlawful.

(b) Whenever the attorney general shall believe from evidence satisfactory to him

that any person, firm, corporation or association or agent or employee thereof has

engaged in or is about to engage in any of the acts or practices stated to be

unlawful he may bring an action in the name and on behalf of the people of the

state of New York to enjoin such unlawful acts or practices and to obtain restitution

of any moneys or property obtained directly or indirectly by any such unlawful acts

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 39 of 46 PagelD: 44

Case No. Brodsky/Martin v. BMW Page 39 of 46

or practices. In such action preliminary relief may be granted under article sixty-
three of the civil practice law and rules.

119. As those unlawful acts were committed in New York State the Defendants
must be held accountable for damages sustained relating to, “Breach of Written
Warranty,” and other damages that can only be determined by a jury at trial. The
Plaintiffs are entitled to recover actual damages sustained, damages relating to
diminished valuation of the subject vehicle which resulted in a serious monetary
deficiency to Donna Martin when the vehicle was ultimately sold at auction,
damages for higher housing costs, damages for paying higher interest rates to
acquire consumer credit, damages for the intentional infliction of emotional
distress, damages for negligent infliction of emotional distress, damages for
libeling Donna Martins reputation, punitive damages for engaging in unlawful and
corrupt acts at the Plaintiffs peril, conversion damages, compensation for costs to

adjudicate this complaint and other relief as the court see’s fit.

COUNT VII
IMPLIED WARRANTY: MERCHANTABILITY NEW YORK STATE
N.Y. U.C.C. Law § 2-314

 

120. BMW of Manhattan is business located in New York, New York, that engages in
selling, leasing, servicing, repairing and warranting new and preowned automobiles to the
public thereby are considered as, “Merchants,” by New York State.

121. The Plaintiffs leased a vehicle from BMW of Manhattan on two separate occasion:.
Both times the Plaintiffs, particularly Donna Martin, leased the same subject vehicle
powered by an N63 engine. For those reasons the Plaintiffs are considered as,
“Consumers,” by New York State.

122. BMW of Manhattan received and kept secret information regarding defects that

hampered the performance and valuation of the subject vehicle. Therefore the Defendants

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 40 of 46 PagelD: 45

Case No. Brodsky/Martin v. BMW Page 40 of 46

willfully and with prior knowledge leased a vehicle to the Plaintiffs, particularly Donna
Martin, knowing there were inherent defects that would eventually diminish significantly
the valuation of that subject vehicle if the information were to be disclosed to the public.
123. NewYork Uniform Commercial Code Law § 2-314 states the following applicable
law:
(a) Unless excluded or modified (Section 2-316), a warranty that the goods shall

| ble is implied i for their sale if tI Her j

with respect to goods of that kind.

124. The subject vehicle and those similarly situated are considered as, “Goods,”
by those same standards.

125. At time of both leases pertaining to the same subject vehicle, BMW of
Manhattan implied prior to selling/leasing the vehicle that it was, “Merchantable.”
and “Free of defects.”

126. Due to the surreptitious concealment of the explicated defects contained
herein and known only to BMW of Manhattan and the other closely associated
Defendants, the Plaintiffs sustained harm and injury therefore entitling them to

compensation for damages incurred.

127. Due to the surreptitious nature of their illegal acts BMW of Manhattan and the

other closely associated Defendants who congruently conspired by withholding

vital information about inherent defects in N63 engines, cannot avoid being held

accountable to the Plaintiffs for them sustaining injury.

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 41 of 46 PagelD: 46

Case No. Brodsky/Martin v. BMW Page 41 of 46

COUNT VIII
EXPRESS WARRANTIES BY AFFIRMATION NEW YORK STATE
N.Y. U.C.C. Law § 2-313

128. Express warranties by the seller are created as follows:

(a) Any affirmation of fact or promise made by the seller to the buyer which
relates to the goods and becomes part of the basis of the bargain creates an express
warranty that the goods shall conform to the affirmation or promise.

(b) Any description of the goods which is made part of the basis of the bargain
creates an express warranty that the goods shall conform to the description.

(c) Any sample or model which is made part of the basis of the bargain creates an
express warranty that the whole of the goods shall conform to the sample or model.
(d) It is not necessary to the creation of an express warranty that the seller use
formal words such as “warrant” or “guarantee” or that he have a specific intention
to make a warranty, but an affirmation merely of the value of the goods or a
statement purporting to be merely the seller's opinion or commendation of the
goods does not create a warranty.

129. Prior to leasing the subject vehicle from BMW of Manhattan and the
Defendants, the Plaintiffs relied on facts proffered to them that the goods and
services the Defendants warranted were of the highest quality, free from defects in
respect to the materials used and the craftsmanship imparted to create such a high
quality vehicle. It was expressly warranted by the Defendants to the Plaintiffs that
those same standards applied to both, new vehicles and preowned.

130. The Defendants conspired, concealed, withheld and obfuscated the truth about

defects known only to them would ultimately impugn the Plaintiffs by causing a

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 42 of 46 PagelD: 47

Case No. Brodsky/Martin v. BMW Page 42 of 46

premature loss of value, which the Defendants hoped would never be disclosed to
the public.

131. Due to the surreptitious illegal actions of the Defendants who congruently
conspired to withhold valued information about inherent defects in N63 engines,
they must be held accountable.

COUNT VIII

VIOLATION FEDERAL MINIMUM STANDARDS FOR WARRANTIES
15 U.S.C.A. § 2304(a)(1)(2)(3)(4)

132. The Defendants had knowledge of defects to the N63 engine in 2008 or

before.

133. The defects known only to the Defendants were withheld from consumers by

concealing, withholding and obfuscating the N63 engines excessive oil

consumption and inherent diminished battery performance due to a design flaw.

134. As the Plaintiffs, particularly Donna Martin, are “Consumers,” in consonance
with 15 US.C.A. § 2304(a)(1)(2)(3)(4).

135. BMW of Manhattan and the other associated Defendants who concordantly

leased the subject vehicle to the Plaintiffs are thereby considered as, “Merchants.”

136. Since 2008 or before, when the excessive oil consumption and diminished

battery performance was discovered by the Defendants, they engaged in an

unlawful and illegal coverup rather than fixing the issues. They made no effort to

rectify or fix the aforementioned defects which violated the essence of 15 U.S.C.A.

§ 2304(a)(1)(2)(3)(4).
137. Due to the surreptitious nature of their illegal acts BMW of Manhattan and the

other closely associated Defendants who congruently conspired by withholding

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 43 of 46 PagelD: 48

Case No. Brodsky/Martin v. BMW Page 43 of 46

vital information about inherent defects found in N63 engines, must be held
accountable to the Plaintiffs for causing them to sustain damages.

138. As these unlawful acts were committed in New York State, the Defendants
must be held accountable for damages sustained relating to breach of, “Written
warranty,” and other damages that can only be determined by a jury at trial. The
Plaintiffs are entitled to recover actual damages sustained, damages relating to
diminished value of the subject vehicle which resulted in a serious monetary
deficiency to Donna Martin when the subject vehicle was ultimately sold at
auction, damages for higher housing costs, damages for paying higher interest rates
to acquire consumer credit, damages for the intentional infliction of emotional
distress, damages for negligent infliction of emotional distress, damages for
libeling Donna Martins reputation, punitive damages for engaging in unlawful and
corrupt acts at the Plaintiffs peril, conversion damages, compensation for costs to

adjudicate this complaint and other relief as the court see’s fit.

COUNT X
REVOCATION OF ACCEPTANCE IN WHOLE OR IN PART
New Jersey Law 12A:2-608(1)(b)

139. The Plaintiffs, particularly Donna Martin, are lessee’s of the subject vehicle

powered by an N63 engine.

140. BMW of Manhattan is a dealer of tangible goods that sells, leases, services,
repairs and warrants new and preowned automobiles to the public in New York

State/New Jersey and nationwide.

141. Upon execution of a lease for the subject vehicle, Donna Martin, the lessee,

was misled into believing the subject vehicle she was leasing was of the highest

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 44 of 46 PagelD: 49

Case No. Brodsky/Martin v. BMW Page 44 of 46

quality and free from defects as warranted by BMW of Manhattan and the

Defendants.

142. Upon delivery and prior to, at no time were the Plaintiffs informed or made
aware that preexisting defects would ultimately devalue the subject vehicle.

143. At no time were the Plaintiffs told the N63 engine which was standard
equipment in the motor vehicle they were leasing had inherent defects such as
excessive oil consumption or a propensity for diminished battery performance that
would ultimately devalue the subject vehicle significantly.

144. New Jersey Law 12A:2-608(1)(b) states the following: “without discovery of
such non-conformity if his acceptance was reasonably induced either by the
difficulty of discovery before acceptance or by the seller's assurances.”

145. BMW of Manhattan having prior knowledge that the aforementioned defects
existed induced the lessee’s to execute a lease agreement in good faith by
concealing, withholding and obfuscating facts about known defects that would
ultimately impugn the value of the subject vehicle.

146. As the Plaintiffs resided in the State of New Jersey at time of purchase, the
Defendants must be held accountable for damages sustained relating to breach of
written warranty and other damages that can only be determined by a jury at trial.

147. The Plaintiffs are entitled to recover actual damages sustained, damages

relating to diminished value of the subject vehicle which resulted in a serious

monetary deficiency to Donna Martin when the vehicle was ultimately sold at

auction, damages for higher housing costs, damages for paying higher interest rates

to acquire consumer credit, damages for the intentional infliction of emotional

distress, damages for negligent infliction of emotional distress, damages for

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 45 of 46 PagelD: 50

Case No. Brodsky/Martin v. BMW Page 45 of 46

libeling Donna Martins reputation, punitive damages for engaging in unlawful and

corrupt acts at the Plaintiffs peril, conversion damages, compensation for costs to
adjudicate this complaint and other relief as the court see’s fit.

PRAYER FOR RELIEF
148. For an award of actual, general, special, incidental, statutory, compensatory
and consequential damages on claims brought under the New Jersey Consumer
Fraud Act, breach of express and implied warranties under all relevant statutes, and
breach of the covenant of good faith and fair dealing and in an amount to be
proven at trial;
149. For an award of exemplary and punitive and treble damages pursuant to the
New Jersey Consumer Fraud Act (NJ. Stat. Ann. §56:8-19) and in an amount to be
proven at trial;
150. For an order requiring Defendants to disgorge, restore, and return all monies
wrongfully obtained together with interest calculated at the maximum legal rate;
151. For an order enjoining the wrongful conduct alleged herein;
152. For costs associated with adjudicating this matter;
153. For interest and penalties;

154. For such other relief as the Court deems just and proper.

155. For intentional infliction of emotional distress;

156. For negligent infliction of emotional distress;

157. For conversion;

158. For libel;

COMPLAINT
Case 2:18-cv-13885-KM-JBC Document 1-1 Filed 09/13/18 Page 46 of 46 PagelD: 51

Case No. Brodsky/Martin v. BMW Page 46 of 46

Signed this 31st day of August, 2018 at Great Neck, New York

Jay Brodsky, Plaintiff-ProSe |

Donna Martin, Plaintiff, ProSe

 

END

COMPLAINT
